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15
                                  UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                          OAKLAND DIVISION
18
     IN RE LITHIUM ION BATTERIES
19   ANTITRUST LITIGATION                            Case No. 13-MD-02420 YGR

20                                                   MDL No. 2420
21
                                                     FURTHER SUPPLEMENTAL STATUS
22   This Documents Relates to:                      REPORT ON SETTLEMENT
                                                     DISTRIBUTION; ORDER
23   ALL INDIRECT PURCHASER ACTIONS

24                                                   DATE ACTION FILED: Oct. 3, 2012
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 1          On March 17, 2023 (ECF No. 2763), Indirect Purchaser Plaintiffs (Plaintiffs) committed to

 2   filing an updated proposal for distribution with the Court by March 24, 2023. Plaintiffs now

 3   respectfully request an additional two weeks to file the plan, so that they may complete an audit of

 4   the various settlement accounts before presenting the distribution plan to the Court.

 5          As the Court is aware, Plaintiffs reached settlements over time with multiple defendants.

 6   Those settlement proceeds have been, appropriately, segregated in different accounts with

 7   Citibank, which have accrued interest separately. Additionally, as the Court is aware, the proceeds

 8   must be allocated differently amongst the two different classes (Sony settlement class versus the

 9   more limited class that participates in all settlements) as well as between repealer and non-repealer

10   states. While Plaintiffs have been working diligently to complete this process, tying out and triple-

11   checking the numbers is taking more time than usual, due to the number of accounts and the

12   complexity of the distribution.

13          Plaintiffs want to ensure that the numbers submitted with the distribution plan to the Court

14   are final and take into account the complexities involved in the multiple settlements and

15   distribution. Accordingly, Plaintiffs respectfully submit they will file the proposed plan of

16   distribution on April 7, 2023.

17
     DATED: March 24, 2023                         HAGENS BERMAN SOBOL SHAPIRO LLP
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                                                   By s/ Shana E. Scarlett
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     DATED: March 24, 2023                         LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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                                                   By s/ Brendan P. Glackin
27
                                                       BRENDAN P. GLACKIN
28                                                 Elizabeth J. Cabraser (SBN 083151)
     FURTHER SUPPL. STATUS REPORT ON SETTLEMENT
     DISTRIBUTION - Case No. 4:13-md-02420-YGR       -1-
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       Case 4:13-md-02420-YGR Document 2765 Filed 04/03/23 Page 3 of 3




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                                                             Counsel for Indirect Purchaser Plaintiffs
15   DATED: 4/3/2023
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